Case 2:05-Cr-20265-BBD Document 6 Filed 07/27/05 Page 1 of 2 Page|D 8

IN THE UNITED STATES DISTRICT COURT F&FUFBF%%QF
FOR THE WESTERN DISTRICT OF TENNESSEE wm "m`"“'&C‘

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W'D C. » BBi:iviPH!S
No. 05-20265-Di

  
 
 

VS.

JOSEPH STEPHAN HAN'D ,

mvv-arvva

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD
OF EXCLU'DABLE DELAY UN'DER THE SPEEDY TRIAL AC'T

 

The defendant has notified the court that he is attempting to
obtain private counsel to represent him.in this action and requests
a continuation of his arraignment for two weeks in order to secure
the services of private counsel.

The court finds that the motion well taken and that the ends
of justice served by such a continuance outweigh the best interests
of the public and the defendant in a speedy trial.

The arraignment is therefore continued and reset to Wednesday,
August 10, 2005, at 9:30 in. Courtroon\ M*B. 9th. Floor Federal
Building, 167 North Main Street, Memphis, Tennessee.

The time period from July 27, 2002 through August 9, 2005, is
excluded from the time limits imposed by the Speedy Trial Act for
trial of this case.

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with Fiufe 55 and/cr 32(b) FHCrP on 5 ‘ZVMANE K . VESCOVO

U'NITED STATES MAGISTR.ATE JU'DGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-20265 Was distributed by faX, mail, or direct printing on
July 29, 2005 to the parties listed.

 

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

